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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

BERKLEY INSURANCE CO., et al.,

                    Plaintiffs,       Case No. 1:13-cv-1053-RCL

             v.

THE FEDERAL HOUSING FINANCE
AGENCY, et al.,

                    Defendants.

IN RE FANNIE MAE/FREDDIE MAC
SENIOR PREFERRED STOCK
PURCHASE AGREEMENT CLASS              Case No. 1:13-mc-1288-RCL
ACTION LITIGATIONS
_______________________________

This document relates to:
ALL CASES




PLAINTIFFS’ MOTION IN LIMINE TO PRECLUDE DEFENDANTS FROM MAKING
    ANY PRICE RECOVERY ARGUMENTS IN THEIR CLOSING ARGUMENT
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                                        INTRODUCTION

         Despite the parties’ pre-trial agreement that Defendants would not use the GSEs’ stock

price movements after August 17, 2012 in their cross-examination of Plaintiffs’ damages expert

Dr. Joseph Mason, Defendants in fact did so in a manner unfairly prejudicial to Plaintiffs. To

ensure that Defendants do not repeat or exacerbate their unfairly prejudicial conduct during closing

arguments, Plaintiffs seek an order (i) precluding Defendants from displaying the third bullet point

on page 2 of PX-0375, and any portions of pages 3, 4, 6, 11, 12 and 14 of PX-0375 that concern

events and/or price changes after August 17, 2012 (collectively, the “Price Recovery Evidence”) 1

in their closing argument, and (ii) precluding Defendants from making any reference to or

argument about the Price Recovery Evidence in their closing argument. Such evidence or

argument is not relevant to any issue before the jury, and therefore is inadmissible under Rule 402.

Its use would be unfairly prejudicial, confusing, and misleading, and therefore is inadmissible

under Rule 403.

                                         BACKGROUND

         In Defendants’ cross-examination of Dr. Mason in the first trial, Defendants asked Dr.

Mason about increases in the prices of the GSEs’ shares subsequent to the August 17, 2012

announcement of the Net Worth Sweep. In the lead-up to the second trial, Plaintiffs sought and

obtained Defendants’ agreement that they would neither attempt to elicit any testimony, nor make

any argument to the jury, concerning “price recovery” or any purported effect thereof on Plaintiffs’

damages (the “Agreement”). In late May 2023, the parties commenced negotiations, and on June

8, 2023, Defendants’ counsel emailed Plaintiffs’ counsel: “I now confirm that Defendants agree

not to ask Dr. Mason questions on ‘price recovery’ or otherwise argue to the jury that the share



1
    A copy of PX-0375 is attached hereto as Exhibit 1.
                                                 1
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price increases after the third amendment mitigated damages.” Ex. 2 at 3. That same day, the

parties continued discussions by phone, and Plaintiffs’ counsel emailed Defendants’ counsel that

Plaintiffs appreciated Defendants’

         confirmation that they would not ask Dr. Mason any questions about a purported
         price recovery in GSE shares following the NWS (see, e.g., [First Trial] Tr.
         1523:25-1524:17 (questions about a purported recovery in share prices in
         September 2012 and October 2012); see also Mason Supp. Dep. Tr. 66:6-78:18;
         124:4-143:11;162:15-168:13 (questions about price recovery)); and that
         Defendants will not otherwise argue to the jury that the share increases after the
         Third Amendment mitigated damages (see, e.g., Tr. 2687:24-2688:8) (emphasis
         supplied).

Id. at 2. 2

         The parties further confirmed and memorialized the Agreement in their respective Pretrial

Statements filed with the Court. 3 Plaintiffs’ Pretrial Statement stated that “Defendants have agreed

not to ask Dr. Mason any questions about a purported price recovery in GSE shares following the

Net Worth Sweep.” ECF 321 at 14. Defendants’ Pretrial Statement confirmed that Defendants

would “not ask Dr. Mason any questions about a price recovery in Enterprise shares following the

Net Worth Sweep (see, e.g., Tr. 1523:25-1524:17 (questions about a recovery in share prices in

September 2012 and October 2012)), and Defendants will not otherwise argue to the jury that the

share price increases after the Third Amendment mitigated damages.” ECF No. 318 at 15. In

return, Plaintiffs agreed that they would not elicit from Dr. Mason testimony that $1.61 billion

represents a “conservative” or “reasonable” measure of damages in this case. ECF No. 321 at 14.




2
    Unless otherwise noted, all emphasis is added.
3
  As such, the Agreement remains binding. See Smith v. Washington Sheraton Corp., 135 F.3d
779 (D.C. Cir. 1998) (holding that defendant was bound by pretrial order that incorporated pretrial
statements); Saweress v. Ivey, No. 6:17-cv-1506-Orl-37TBS, 2019 U.S. Dist. LEXIS 86241, at *5
(M.D. Fla. Apr. 1, 2019) (recognizing “binding effect of pretrial statements”).


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          Plaintiffs have scrupulously fulfilled their obligations under the Agreement, but

Defendants have skirted theirs. During cross-examination of Dr. Mason in this trial, Defendants’

counsel (i) published to the jury pages 3 and 4 of PX-0375, which are charts of GSE stock price

movements, including increases, throughout a date range that extends well after the Net Worth

Sweep; and (ii) continued to display the pages to the jury while asking a lengthy series of

transparently irrelevant questions, 4 during which counsel reiterated six times that the

announcement of the Net Worth Sweep occurred “11 years ago.” See Second Tr. (7/27/23 PM) at

84–93. These tactics could only have been intended to suggest to the jury that the GSEs’ stock

prices may have increased since August 17, 2012 and that any price recovery could mitigate or

eliminate Plaintiffs’ damages.

          Defendants engaged in the same type of conduct during Dr. Mason’s cross-examination in

the first trial. Specifically, Defendants’ counsel read to the jury a single sentence from PX-0375

(page 2, second bullet point), which stated that the “Price of the common stock recovered in

September 2012 and that of the junior preferred stocks recovered during October 2012.” First Tr.

at 1524:1–7. Defendants’ counsel then asked Dr. Mason, “Did I read that correctly?” (id. at

1524:6) and asked whether September and October 2012 follow August 2012. Id. at 1524:11–17.

This type of gamesmanship in the first trial is precisely what prompted Plaintiffs to secure

Defendants’ agreement that they would not make price recovery an issue in the second trial.



4
    This line of questioning included such pointless inquiries as:

          And just to orient everyone, today is July 27th, 2023. So that means August 17, 2023, the
          day of this one-day decline in share prices, that was almost 11 years ago. Right?

Second Tr. (7/27/23 PM) at 83:6–9. Plaintiffs refrained from objecting based on their reasonable
expectation that Defendants’ cross-examination would serve a legitimate purpose, not be used as
a vehicle to smuggle in price recovery.



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Unfortunately, Defendants have demonstrated that they cannot be taken at their word, 5 hence the

instant motion.

                                         ARGUMENT

       A.      The Price Recovery Evidence Should Be Excluded Under Rule 402

       Pursuant to Federal Rule of Evidence 402, “[e]vidence which is not relevant is not

admissible.” Fed. R. Evid 402; see also Desmond v. Gonzales, Civil Action No. 03-1729 (CKK),

2007 U.S. Dist. LEXIS 116201, at *6-7 (D.D.C. Feb. 19, 2007) (“relevant evidence ‘means

evidence having any tendency to make the existence of any fact that is of consequence to the

determination of the action more probable or less probable than it would be without the

evidence.’”) (citations omitted). Plaintiffs’ damages are based on the GSEs’ stock price declines

on August 17, 2012 (see ECF No. 290-13 (Mason Reply Report) at ¶¶ 87-88), and Defendants

have not introduced and will not introduce any evidence or expert opinion to the contrary. 6

Moreover, Defendants’ counsel acknowledged on the record that “events that happened after

August 2012 are not relevant” to damages. Second Tr. (7/28/2023 AM) at 14:12–13.

       The Price Recovery Evidence has no probative value because it has no tendency to make

any fact of consequence more or less probable. To the contrary, the only possible purpose for


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  Indeed, Defendants acknowledged to the Court, albeit halfheartedly and only after Plaintiffs’
prompting, that they had lodged an improper objection to a critical part of Dr. Mason’s direct
testimony that Defendants had previously agreed was admissible. See Second Tr. (7/28/2023 AM)
at 16:10–17 (“What we had negotiated was that Dr. Mason would be able to provide the following
testimony: The opinion in my reply report, which refers to his second report, regarding the 1.6
billion in damages estimated at the announcement of the net worth sweep applies today as well as
2012…. To the extent the objection was objecting to that statement, it was incorrect. And we
apologize for that.”).
6
  See Second Trial Tr. (7/28/2023 AM) at 14:21–23 (Counsel for Defendants admitting that
Defendants’ expert, Dr. Attari, “would not provide any testimony about price recovery or about
the event study.”); Defendants’ Pretrial Statement (ECF No. 318) at 9 (describing the testimony
Defendants’ expert, Dr. Attari, will provide at trial, which does not include testimony concerning
reversal or mitigation of damages).


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using it is an improper one: to suggest to the jury that Plaintiffs’ damages may have been mitigated

or eliminated as a result of later increases in the trading prices of the GSEs’ shares. Accordingly,

the Court should preclude Defendants from using or referring to the Price Recovery Evidence in

their closing argument.

       B.      The Price Recovery Evidence Should Be Excluded Under Rule 403

       Under Federal Rule of Evidence 403, even relevant evidence should be excluded if its

probative value is substantially outweighed by a danger of, inter alia, “unfair prejudice, confusing

the issues, [or] misleading the jury….” Fed. R. Evid. 403. Even evidence that has been admitted

at trial “must be narrowly tailored to the circumstances for which it is relevant, and it must be

circumscribed so as to limit its potential prejudicial effects.” United States v. Crumby, 895 F.

Supp. 1354, 1363 (D. Ariz. 1995) (finding that admissible polygraph evidence “may only be used

to impeach or corroborate the credibility of Plaintiff”); see also C & E Servs., Inc. v. Ashland Inc.,

539 F. Supp. 2d 316, 322 (D.D.C. 2008) (“evidence may be admissible for a limited purpose”).

       Plaintiffs introduced PX-0375 into evidence for the purpose of establishing that the

announcement of the Net Worth Sweep caused the stock price declines that damaged Plaintiffs. 7

Accordingly, Plaintiffs published to the jury only the portions of PX-0375 that were relevant to

that purpose, specifically:

       ▪       the first three rows of the table on page 6, identifying the changes in values of
               Fannie and Freddie common and junior preferred shares from August 16, 2012 to
               August 17, 2012. Second Tr. (7/27/23 PM) at 56:4 – 58:8.

       ▪       the first three rows of the table on page 14, identifying the excess returns of Fannie
               and Freddie common and junior preferred shares on August 7, 8, and 12, 2012. Id.
               at 58:9 – 60:11; 62:16 – 63:2; 63:19 – 64:2); and




7
 Although Plaintiffs did not expressly seek to admit PX-0375 “subject to” the Agreement, there
was no reason to so specify because the Agreement was undoubtedly binding, as discussed above.


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        ▪       the first five rows of the table on page 15, identifying the news associated with
                these excess returns. Id. at 62:7–15; 63:3–18; 64:3 – 67:2.

        The Court’s admitting PX-0375 provides no basis for Defendants to republish to the jury

portions of the exhibit that are not relevant or have minimal probative value, and which is

substantially outweighed by a danger of unfairly prejudicing Plaintiffs and intentionally confusing

and misleading the jury. See, e.g., United States v. Roenigk, 810 F.2d 809, 814-17 (8th Cir. 1987)

(remanding for new trial because “repeated evidence” used at trial “having nothing to do with [the

issue]” was “overly prejudicial” under Rule 403); O’Rear v. Fruehauf Corp., 554 F.2d 1304, 1309

(5th Cir. 1977) (finding that “repeated exposure of a jury to prejudicial information” warranted

grant of motion for mistrial); Spence v. State, 129 A.3d 212, 223 (Del. 2015) (material “may not

be used to make an argument visually that could not be made orally”). And, needless to say,

closing arguments should be fair. See Risko v. Thompson Muller Automotive Group, Inc., 206 N.J.

506, 20 A.3d 1123 (2011) (“Summations must be fair and courteous, grounded in the evidence,

and free from any ‘potential to cause injustice.’”); Boyle v. Christensen, 2011 UT 20, 251 P.3d

810 (Utah 2011) (“[L]atitude does not extend to counsel calling the jury’s attention to material that

the jury would not be justified in considering in its verdict.”).

        Defendants’ using or referring to the Price Recovery Evidence in their closing argument

would run afoul of Rule 402, because it is not relevant, and afoul of Rule 403, because even if

relevant, the probative value of the Price Recovery Evidence is negligible and substantially

outweighed by the danger of unfairly prejudicing Plaintiffs and confusing and misleading the jury.

Plaintiffs relied on the Agreement in good faith, only to see their fidelity abused to their detriment. 8



8
  Plaintiffs acknowledge that the Court previously rejected their request for a curative instruction
based on Defendants’ improper use of the price recovery chart during Dr. Mason’s testimony. The
present request, however, is seeking to prevent Defendants from compounding their improper
tactics in summations.


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The Court should not permit Defendants to compound the unfair prejudice by repeating it in

closing arguments. Most importantly, any use of or reference to the Price Recovery Evidence

would further confuse and mislead the jury to believe that changes in the GSEs’ stock prices after

August 17, 2012 are relevant to their deliberations, which the parties agree – and Defendants admit

– are not. Thus, the Court should preclude any further use of or reference to the Price Recovery

Evidence.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter an order

precluding Defendants from displaying or making any reference to or argument about the Price

Recovery Evidence in their closing argument.

 Dated: August 4, 2023                              Respectfully submitted,

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